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                                                          September 7, 2022

Hon. Paul G. Gardephe
United States District Judge
United States District Court
Southern District of New York
40 Foley Square
New York, New York 10007


                                            Re:     United States v. Luis Vilella
                                                    19-CR-789 (PGG)

Dear Judge Gardephe:

        Mr. Vilella was arraigned on November 7, 2019, and was released on a $50,000 personal
recognizance bond signed by two financially responsible people. Mr. Vilella’s travel was also
limited to SDNY/EDNY, among other conditions. Since then, Mr. Vilella’s travel limitations
have been expanded to include the state of New Jersey.

      I write today, with the consent of Pretrial Services and the government, to request a
temporary modification of Mr. Vilella’s bail conditions to allow him to travel to Kansas City,
MO for approximately two weeks to visit his twelve year old son, who lives there with his
mother. If approved, Mr. Vilella will keep Pretrial Services abreast of his itinerary.

       Thank you for your consideration.


                                                    Sincerely,

                                                            /s/

                                                    Florian Miedel
                                                    Counsel for Luis Vilella

Cc:    AUSA Louis Pellegrino
       AUSA Matthew Andrews
       Pretrial Services (email)




                                                          Dated: September 8, 2022
